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AO 106A (08/18) Appli cation for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Southern District of California

                In the Matter of the Search of                                )
         (Briefly describe the property lo be searched                        )
          or identify the person by name and address)
                                                                              )              Case No.   '22 MJ3807
                    One black Apple iPhone                                    )
                    DEA SSEE S001538193                                       )
                                                                              )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A-1, incorporated herein by reference .

located in the              Southern              District of                  California                 , there is now concealed (identify the
                                                                ------------
person or describe the property to be seized):


 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 4l(c) is (c heck one or more) :
                  ii evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                Offense Description
        21 U.S.C. 841 and 846                     Possession with the Intent to Distribute Controlled Substances and Conspiracy
                                                  Related Thereto


          The application is based on these facts:
        See Affidavit of DEA Special Agent Josue Alvarez, which is hereby incorporated by reference and made part
        hereof.
           ii   Continued on the attached sheet.
           0 Delayed notice of         days (give exact ending date if more than 30 days:
             18 U.S .C. § 3103a, the basis of which is set forth on the attached sheet.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specijj1reliable electronic means).


Date:             10/17/2022
                                                                                                          Judge 's signature

City and state: San Diego, California                                                 Hon. Karen S. Crawford, U.S . Magistrate Judge
                                                                                                        Printed name and title
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 1                                          AFFIDAVIT
 2         I, Josue Alvarez, being duly sworn, hereby state as follows:
 3                                      INTRODUCTION
 4         1.     I submit this affidavit in support of an application for a warrant to search the
 5 following electronic devices:
 6
                        One black Apple iPhone
 7                      DEA SSEE S001538193
                        (Target Device 1)
 8
 9                      One black TracFone TCL
                        DEA SSEE S001538194
10
                        (Target Device 2)
11
                        One black Samsung Phone
12
                        DEA SSEE S001538195
13                      (Target Device 3) (collectively, the Target Devices)
14
     as further described in Attachments A-1, A-2, and A-3, and to seize evidence of crimes,
15
     specifically violations of Title 21, United States Code, Sections 841 and 846 as further
16
     described in Attachment B.      The requested warrant relates to the investigation and
17
     prosecution of Rudy TRUJILLO and Isaac TORRES, who were arrested on or about
18
     September 28, 2022, for possessing, with the intent to distribute, approximately 110,000
19
     counterfeit Oxycodone pills made with fentanyl weighing approximately 12.84 kilograms
20
     (28.3 pounds). The Target Devices are currently in the custody of the Drug Enforcement
21
     Administration located at 45 60 Viewridge A venue, San Diego, California 92123.
22
           2.     The information contained in this affidavit is based upon my training,
23
     experience, investigation, and consultation with other members of law enforcement.
24
     Because this affidavit is made for the limited purpose of obtaining a search warrant for the
25
     Target Devices, it does not contain all the information known by me or other agents
26
     regarding this investigation. All dates and times described are approximate.
27
                                         BACKGROUND
28
           3.     I am a Special Agent (SA) Criminal Investigator for the United States Drug
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 1 Enforcement Administration (DEA), and I am an investigative or law enforce1nent officer
 2 of the United States within the meaning of Section 2510(7) of Title 18 of the United States
 3 Code. I am empowered by law to conduct investigations of, and to make arrests for,
 4 offenses enumerated in 18 U.S.C. § 2516. Further, I am a federal law enforcement officer
 5 within the meaningofRule 41(a)(2)(C) of the Federal Rules ofCriminalProcedure. I am
 6 authorized under Rule 4l(a) to make applications for search and seizure warrants and to
 7 serve arrest warrants. I am authorized to investigate violations oflaws of the United States
 8 and to execute warrants issued under the authority of the United States.
 9         4.    I have worked in federal law enforcement since January 13, 2013. Prior to
1O working for the DEA, I was employed by the Department of Homeland Security, Customs
11 and Border Protection, as both a United States Border Patrol Agent (BPA) and a Customs
12 and Border Protection Officer (CBPO). I attended both the United States Border Patrol
13 Academy and the Field Operations Basic Officer Academy where I received training in
14 drug identification, criminal law, and drug trafficking methods and tactics. During my time
15 as a BPA, I participated in the identification and seizure of various narcotics interdictions.
16         5.    I have been a SA since Dec em her 2021. My training in clu <led a 17-week
17 Basic Agent course at the DEA Academy where I received training in surveillance
18 techniques, drug identification, law, confidential source management, methods and tactics
19 of narcotics trafficking, and various aspects of conductingnarcotics investigations.
20         6.    Upon graduation from the DEA Academy, I was assigned to San Diego Field
21 Division where I currently am assigned to Narcotic TaskForce (NTF) Team 1. NTF Team
22 1 is comprised of DEA SAs and Task Force Officers (TFOs) from the San Diego Police
23 Department (SDPD) and San Diego County Sheriffs Department (SDSO). NTF Team 1
24 investigates U.S. and foreign-based individuals and illegal Drug Trafficking Organizations
25 (hereinafter, DTOs), including those organizations whose operations involve the wholesale
26 distribution quantities of cocaine, methamphetamine, heroin, fentanyl, and marijuana.
27         7.    While with the DEA, I have participated in investigations involving federal
28 violations of Title 21. I have conducted surveillance on multiple narcotics transactions,
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 1 processed both drug and nondrug evidence, and been present during confidential source
 2 (CS) meetings. Based on my training, experience, and infonnation provided to me by other
 3 agents from federal, state, and local law enforcement agencies, I am familiar with
 4 investigations ofDTOs, including identifying methods of importation and distribution of
 5 controlled substances, and how controlled substances are manufactured, consumed,
 6 packaged, marketed, smuggled, and distributed. I am also familiar with various tactics
 7 used by DTOs to import drugs into the United States, communicate with members of the
 8 DTOs, and arrange for transportation and distribution of drugs.
 9         8.    Based upon my training and experience as a DEA SA, consultations with other
1O law enforcement officers experienced in narcotics investigations, and all the facts and
11 opinions set forth in this affidavit, I submit the following:
12               a.     Drug traffickers often work in concert utilizing cellular/mobile
13                      telephones because they are mobile and provide instant access to calls,
14                      text messaging capabilities, web, and voice messages.
15               b.     Drug traffickers often use cellular/mobile telephones in order to arrange
16                      the distribution or possession with the intent to distribute their illegal
                                                                      \

17                      cargo.
18               c.     Drug traffickers often use cellular/mobile telephones in orderto provide
19                      instructions and synchronize an exact drop off and/or pick uptime of their
20                      illegal cargo.
21               d.     Drug traffickers often use cellular/mobile telephones to notify or warn
22                      accomplices of law enforcement activity, including the presence and
23                      posture of marked and unmarked units.
24         9.    Based upon my training, experience, consultations with law enforcement
25 officers experienced in narcotics trafficking investigations, and all the facts and opinions
26 set forth in this affidavit, I am aware that cellular telephones (including their SIM card(s))
27 can and often do contain electronic evidence, including, for example, phone logs and
28 contacts, voice and text communications, and data, such as emails, text messages, chats
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 1 and chat logs from various third-party applications, photographs, audio files, videos, and
 2 location data. This information can be stored within disks, memory cards, deleted data,
 3 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 4 telephone. Specifically, searches of cellular telephones of individuals involved in the
 5 trafficking of narcotics may yield evidence:
 6               a.    tending to indicate efforts to distribute or possess with the intent to
 7                     distribute federally controlled substances;
 8               b.    tending to identify accounts, facilities, storage devices, and/or services
 9                     - such as email addresses, IP addresses, and phone numbers - used to
1O                     facilitate the distribution or possession with the intent to distribute
11                     federally controlled substances;
12               c.    tending to identify co-conspirators, criminal associates, or others
13                     involved in the distribution or possession with the intent to distribute
14                     federally con trolled substances;
15               d.    tending to identify travel to or presence at locations involved in the
16                     distribution or possession with the intent to distribute federally
17                     controlled substances, such as stash houses, load houses, or delivery
18                     points;
19               e.    tending to identify the user(s) of, or person(s) with control over or
20                     access to, the Target Devices; and/or
21               f.    tending to place in context, identify the creator or recipient of, or
22                     establish the time of creation or receipt of communications, records, or
23                     data involved in the activities described above.
24                      FACTS SUPPORTING PROBABLE CAUSE
25        10.    Since August 2022, DEA SDFD NTF SAs and TFOs have been investigating
26 the ongoing drug-trafficking activity of TRUJILLO and his co-conspirators in the Southern
27 District of California. That work has involved the participation of a DEA confidential
28
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 1 source 1 (CS), and has included a dry-meet between the CS and TRUJILLO, as well as a
 2 buy bust operation effectuated on or about September 28, 2022.
 3 A.     August 2022 Buy-Bust Attempt
 4         11.   On or about August 30, 2022, the CS provided a Mexican phone number
 5 utilized by an unknown Hispanic male only known as "GALLERO," who agents believe
 6 resides in Mexico.     At the direction of agents, the CS and GALLERO engaged in
 7 negotiations over the WhatsApp phone application regarding GALLERO selling the CS
 8 m ethamphetamine and fentany 1pills (also kn own as M3 0 pills). GALLERO agreed to sell
 9 the CS 50 pounds of methamphetamine and 100,000 M30 pills on August 30, 2022, in San
10 Diego, California.
11         12.   During the subsequent meeting, no courier arrived with the narcotics, however
12 GALLERO provided the CS with a U.S. based phone number belonging to "EL GUERO,"
13 later identified as TRUJILLO. At the direction of agents, the CS communicated with
14 TRUJILLO who relayed they did not have the narcotics. The operation was terminated by
15 investigators.
16
17
18
19         Members ofDEA's SDFD have known and worked with this CS since June 2014.
   - Th@ CS-ha-s, in -th€ past, -given in-formation-that- Gontrolled-substances,-including -
20 methamphetamine, were to be found at specified locations and on persons who were named
21 and described by the CS. These locations and persons were subsequently investigated and
     determined that the information was correct in all respects. Information furnished by the
22 CS has resulted in numerous arrests for controlled substances violations and the recovery
23 of substantial amounts of contraband to include methamphetamine, cocaine, heroin,
     fentanyl, firearms, anddrugproceeds.
24         Law enforcement officers have been involved in more than 20 con trolled purchases,
2 5 arrests, and or search warrant operations since June 2014 in which the CS's observations
     and information were relied upon by investigating officers. Each of these operations
26 resulted in drug and/or firearms related arrests, in each case corroborating the information
27 that had been previously relayed to controlling investigators by the CS. I know the CS to
     be familiar with the methods of packaging, consumption, and transfer of those substances.
28         Over 5 years ago, the CS was convicted of a violation of conspiracy to import a
     controlled substance.
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 1 B.      September 2022 Dry Meet
 2         13.   On or about September 21, 2022, the CS and GALLERO agreed to a dry meet
 3 in San Diego, California. Prior to meeting with the CS, TRUJILLO communicated with
 4 the CS by phone.       During the meeting arranged by GALLERO, the CS met with
 5 TRUJILLO in the vicinity of the McDonald's parking lot located at 4449 Camino de la
 6 Plaza, San Ysidro, California 92173 on September 21, 2022. TRUJILLO met with the CS
 7 inside an undercovervehicle provided to the CS and discussed a future deal of50 pounds
 8 of methamphetamine and 100,000 M30 pills. This meeting was captured in audio and
 9 video recording.
1O         14.   Following the meet, investigators observed TRUJILLO driving a gray Jeep
11 bearing California license plates (the Jeep). The Jeep is registered to TRUJILLO.
12 C.      September 28, 2022 Buy Bust
13         15.   On September 28, 2022, SAs and TFOs, in conjunction with law enforcement
14 from SDPD and CBP, conducted a "buy-bust" operation utilizing the CS in the vicinity of
15 the Sam's Club parking lot located at 6336 College Grove Way, San Diego, California
16 92115. Law enforcement established surveillance at TRUJILLO's residence and in the
17 vicinity of the Sam's Club parking lot.        Prior to the meet, investigators observed
18 TRUJILLO depart the vicinity of his residence carrying a cardboard box that he
19 subsequently placed into a white Volkswagen Jetta bearing California license plates (the
20 Volkswagen Jetta). Investigators observed TRUJILLO get into the driver's seat of the
21 Volkswagen Jetta. TORRES was observed getting into the driver's seat ofTRUJILLO's
22 Jeep. Investigators followed TRUJILLO and TORRES to the meet location andobsetved
23 them drive in tandem. Based training, experience, and conversations with other law
24 enforcement, investigators know that is common for drug traffickers to drive in tandem to
25 meet locations in multiple vehicles. One vehicle will typically contain the narcotics while
26 the other vehicle is utilized as a "lookout" to monitor for law enforcement activity.
27         16.   Law enforcement observed the CS park the undercover vehicle provided to
28 the CS in the Sam's Club parking lot.           ~ubsequently, law enforcement observed
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 1 TRUJILLO enter the front passenger seat of the undercover vehicle. Thereafter, the CS
 2 and TRUJILLO, in the undercover vehicle, drove to the Sam Ash Music Stores parking lot
.3 located at 3418 College Avenue, San Diego, California 92115. Moments later, the CS and
 4 TRUJILLO exited the undercover vehicle and approached a secondary vehicle at which
 5 point an undercover law enforcement officer conducted a money flash of $150,000 for
 6 TRUJILLO.
 7         17.    Subsequently, the CS and TRUJILLO returned to the vicinity of the Sam's
 8 Club parking lot and parked facing the Volkswagen Jetta. TRUJILLO directed the CS to
 9 a cardboard box located in the Volkswagen Jetta where the CS observed a large number of
1O pills. After obtaining the arrest signal from the CS, law enforcement arrested TRUJILLO
11 in the undercover vehicle without incident. Investigators located and seized from the
12 Volkswagen Jetta approximately 110,000 "M30" pills weighing approximately 12.84
13 kilograms (28.3 pounds) inside the cardboard box. Investigators later field-tested one of
14 the pills which resulted in a presumptive positive for fentanyl.
15         18.   During a search of TRUJILLO, Target Device 1 was found on his person and
16 seized. Target Device 2 was found during a search of the Volkswagen Jetta.
17         19.    Simultaneously, law enforcement contacted and arrested TORRES in the Jeep
18 which was parked in the same parking lot near Salon Centric, 6348 College Grove Way,
19 San Diego, California 92115. TargetDevice3 fell from TORRES's lap onto the ground
20 during his arrest.
21         20.   Based upon my experience, training, consultation with other law enforcement
22 officers experienced in narcotics trafficking investigations, and all the facts and opinions
23 set forth in this affidavit, I believe that telephone numbers, con tact names, electronic mail
24 (email) addresses, appointment dates, messages, pictures and other digital information are
25 stored in the Target Devices and that this data may constitute evidence of crimes as
26 described in Attachment B. I hereby request that the court issue a warrant authorizing law
27 enforcement agents and/or other federal and state law enforcement officers to search the
28 Target Devices, and seize the items listed in Attachment B, using the methodology
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 1 described below.
 2         21.   In light of the above facts and my experience and training, I believe that there
 3   is probable cause to believe that TRUJILLO and TORRES were using the Target Devices
 4   to communicate with others to further the distribution or possession with the intent to
 5   distribute federally controlled substances.     Further, in my training and experience,
 6   narcotics traffickers may be involved in the planning and coordination of a drug trafficking
 7   event in the days and weeks prior to an event. I am also aware that co-conspirators are
 8   also often unaware of a defendant's arrest and will continue to attempt to communicate
 9   with a defendant after their arrest in order to determine the whereabouts of the proceeds.
1O Accordingly, I request permission to search the Target Devices for data beginning on
11   August 29, 2022 (the date before the CS contacted GALLERO), up to and including
12   September 29, 2022 (the day after the offense).
13                                     METHODOLOGY
14        22.    It is not possible to determine, merely by knowing the cellular/mobile
15 telephone's make, model and/or serial number, the nature and types of services to which
16 the device is subscribed and the nature of the data stored on the device. Cellular/mobile
17 devices today can be simple cellular telephones and text message devices, can include
18 cameras, can serve as personal digital assistants and have functions such as calendars and
19 full address books and can be mini-computers allowing for electronic mail services, web
20 services and rudimentary word processing. An increasing number of cellular/mobile
21 service providers now allow for their subscribers to access their device over the internet
22 and remotely destroy all of the data contained on the device. For that reason, the device
23 may only be powered in a secure environment or, if possible, started in "flight mode" which
24 disables access to the network. Unlike typical computers, many cellular/mobile telephones
25 do not have hard drives or hard drive equivalents and store information in volatile memory
26 within the device or in memory cards inserted into the device. While current technology
27 provides some solutions for acquiring some of the data stored in some cellular/mobile
28 telephone models using forensic hardware and software, not all devices are amenable to
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 1 forensic data acquisition. Additionally, even where forensic data acquisition is possible,
 2 current technology may not extract all of the stored data. In such circumstances, the
 3 examiner must inspect the device manually and record the process and the results using
 4 digital photography. This process is time and labor intensive and may take weeks or longer.
 5         23.   Following the issuance of this warrant, I will collect the Target Devices and
 6 subject the devices to analysis. The analysis of the data contained within the Target
 7 Devices and their memoiy cards will employ search protocols directed exclusively to the
 8 identification and extraction of data within the scope of this warrant.
 9        24.    Based on the foregoing, identifying and extracting data subject to seizure
10 pursuant to this warrant may require a range of data analysis techniques, including manual
11 review, and, consequently, may take weeks or months. The personnel conducting the
12 identification and extraction of data will complete the analysis within ninety (90) days,
13 absent further application to this court.
14                 PRIORATTEMPTSTOOBTAINTHISEVIDENCE
15        25.    Law enforcement has not previously attempted to obtain the evidence sought
16 by this Affidavit. _
17 II
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28 II
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 1                                       CONCLUSION
 2          26.   Based on all of the facts and information set forth above, I submit there is
 3 probable cause to believe that a search of the Target Devices will yield evidence of
 4 TRUTILLO's and TORRES's violations ofTitle 21, United States Code, Sections 841 and
 5 846. Accordingly, I request that the Court issue a wan-ant authorizing law enforcement to
 6 search the items described in Attachments A-1, A-2, and A-3, and seize the items listed in
 7 Attachment Busing the above-described methodology.
 8         I swear the foregoing is true and correct    e best ofmy knowledge and belief.
 9
10
                                            Jo
11
                                            D
12
     Sworn and attested to under oath by telephone, in accordance with Federal Rule ofCriminal
13
     Procedure 4.1 , this 17th day of October, 2022
14
15
16                                           Honorable Karen S. Crawford
                                             United States Magistrate Judge
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                              ATTACHMENT A-1
                          PROPERTY TO BE SEARCHED

The following property is to be searched:

                   One black Apple iPhone
                   DEA SSEE S001538193
                   (Target Device 1)

Target Device 1 is currently in the possession of the Drug Enforcement Administration
located at 4560 Viewridge Avenue, San Diego, California 92123.
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                              ATTACHMENT A-2
                          PROPERTY TO BE SEARCHED

The following property is to be searched:

                   One black TracFone TCL
                   DEA SSEE S001538194
                   (Target Device 2)

Target Device 2 is currently in the possession of the Drug Enforcement Administration
located at 4560 Viewridge Avenue, San Diego, California 92123.
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                              ATTACHMENT A-3
                          PROPERTY TO BE SEARCHED

The following property is to be searched:

                   One black Samsung Phone
                   DEA SSEE S001538195
                   (Target Device 3)

Target Device 3 is currently in the possession of the Drug Enforcement Administration
located at 4560 Viewridge Avenue, San Diego, California 92123.
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                                 ATTACHMENT B
                               ITEMS TO BE SEIZED

       Authorization to search the cellular/mobile telephones described in Attachments
A-1, A-2, and A-3 includes the search of disks, memory cards, deleted data, remnant
data, slack space, and temporary or permanent files contained on or in the
cellular/mobile telephone(s) for evidence described below. The seizure and search of
the cellular/mobile telephone(s) shall follow the search methodology described in the
affidavit submitted in support of the warrant(s).

       The evidence to be seized from the cellular/mobile telephone(s) will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of August 29, 2022 (the date before the CS contacted GALLERO),
up to and including September 29, 2022 (the day after the offense):

             a.    tending to indicate efforts to distribute or possess with the intent to
                   distribute federally controlled substances;

             b.    tending to identify accounts, facilities, storage devices, and/or services
                   – such as email addresses, IP addresses, and phone numbers – used to
                   facilitate the distribution or possession with the intent to distribute
                   federally controlled substances;

             c.    tending to identify co-conspirators, criminal associates, or others
                   involved in the distribution or possession with the intent to distribute
                   federally controlled substances;

             d.    tending to identify travel to or presence at locations involved in the
                   distribution or possession with the intent to distribute federally
                   controlled substances, such as stash houses, load houses, or delivery
                   points;

             e.    tending to identify the user(s) of, or person(s) with control over or
                   access to, the Target Device(s); and/or

             f.    tending to place in context, identify the creator or recipient of, or
                   establish the time of creation or receipt of communications, records, or
                   data involved in the activities described above.

which are evidence of violations of Title 21, United States Code, Sections 841 and
846.
